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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                               Magistrate Judge S. Kato Crews

Civil Action: 19-cv-02871-SKC                         Date: December 19, 2019
Courtroom Deputy: Amanda Montoya                      FTR – Reporter Deck-Courtroom C-201

 Parties:                                                     Counsel:

 ETHEL SUSANNE HALTER,                                        Pro se

      Plaintiff,

 v.

 WELL COUNTY SHERIFF’S OFFICE,                                Katherine Pratt

      Defendant.


                                   COURTROOM MINUTES

HEARING: STATUS CONFERENCE
Court in session: 10:53 a.m.
Court calls case. Appearances of counsel.

Discussion regarding the removal of this case to federal court, the availability of the pro se clinic,
pro bono counsel, and the motion process. Ms. Halter has been placed on the list for pro bono
counsel and is advised of the process.

Further discussion regarding the operative complaint and parties.

The Court advises Ms. Halter of the conferral obligation before filing a motion.

ORDERED: Plaintiff is given leave to file an amended complaint. The amended complaint
         shall be filed no later than February 21, 2020 and shall provide specific
         allegations and shall specifically identify parties by name. Defendant will have
         21 days to file an answer of otherwise respond to the amended complaint.

The Court previously issued a stay on discovery pending a resolution on the motion to dismiss.

HEARING CONCLUDED.
Court in recess: 11:36 a.m.            Total time in court: 00:43

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